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           Exhibit 352
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                 Byrne has been Working with Ramsland
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23· Transcribed by
24· Charlotte Crandall
25· RPR, FPR


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               Byrne has been Working with Ramsland
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·1· · · · · · PATRICK BYRNE:· Yeah.· This is a not even a
·2· close call.· This is a wild goon -- how do I know?· What
·3· you folks need to know is this.· This is a combination
·4· of concerned citizens and hackers, but also some very
·5· professional cyber security groups are involved, and the
·6· reason is in the Dallas election in 2018 had
·7· irregularities in it.· The state of Texas hired a cyber
·8· security firm to study it.· That firm has had -- and it
·9· was Dominion voting systems.
10· · · · · · They've had two years to deconstruct and
11· reverse engineer how do you hack an election with
12· Dominion voting systems.· So in other words they've
13· had two years to study what you're trying to come up
14· to speed on in the last two weeks.
15· · · · · · Turns out it's not even close.· This
16· election was hacked, and I'm not saying in states
17· where -- and I didn't vote for Trump, and you know
18· that, John.
19· · · · · · JOHN:· I know that.· We've had many
20· intellectual debate on it, and I know you're a patriot
21· and a Libertarian.
22· · · · · · PATRICK BYRNE:· Yeah, that's okay.· That
23· doesn't enter into it.· It's the Constitution.· This
24· election was hacked.· This is not even close.· In these
25· states where they're worried about that Trump is behind


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·1· 12,000 or 20,000, he got cheated like 600,000, 600,000
·2· in states where they're trying to make that up.· The
·3· hacking is so far beyond what you can imagine.
·4· · · · · · (End of recording.)
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·3· · · · · · · · · ·CERTIFICATE OF REPORTER

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·5· · · · · · I, Charlotte Crandall, certify that I was

·6· authorized to and did transcribe the foregoing audio

·7· recorded proceedings and that the transcript is a

·8· true and complete record of my stenographic notes

·9· from an audio recording and was transcribed to the

10· best of my ability.

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12· · · · · · Dated this 4th day of August, 2021.

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18· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
19· · · · · · · · · · · Registered Professional Reporter

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